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                                                      Exhibit 27
                          Designations of Deposition Testimony of Hugh Shine (July 16, 2022)


              Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’     Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                             Objections
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